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 The following constitutes the ruling of the court and has the force and effect therein described.


 Signed October 6, 2021
                                            United States Bankruptcy Judge
______________________________________________________________________




BTXN057 (rev. 04/13)
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS


In Re:                                                     §
Mansfield Boat and RV Storage, LLC                         §    Case No.: 18−33926−hdh7
                                                           §    Chapter No.: 7
                                          Debtor(s)        §


                       ORDER DENYING MOTION FOR WANT OF PROSECUTION
     The Court, after review of the file and docket in the above entitled and numbered case, finds that on 7/21/2021,
Interested Party Larry James Reynolds filed a Motion to Compel Trustee to Abandon Property of the Estate
("Motion"), document number 317.

Subsequently,

             a Certificate of No Objection has not been filed with respect to the Motion as required by N.D.
          TX L.B.R. 9007.1(e).

               no hearing has been requested.

               Proposed Order has not been submitted.

              the Court held a hearing on Hearing Date, at which time counsel announced that an order
          disposing of the Motion would be submitted

              the matter was removed from the Court's docket on representation of counsel that an order
          disposing of the Motion would be submitted

              the Court held a hearing on Hearing Date. After considering any evidence presented and the
          arguments of counsel, the court finds that the Motion is denied.
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       Other :

The Court further finds that insufficient action has been taken to obtain the relief sought. It is, therefore

ORDERED that the Motion is DENIED without prejudice to refiling.

                                            # # # End of Order # # #
